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                      IN THE UNITED STATES DISTRICT COURT,
                    IN AND FOR THE CENTRAL DISTRICT OF UTAH

LINDA SUDA,                                     NOTICE OF VOLUNTARY DISMISSAL

               Plaintiff,
vs.                                                     Case No. 2:19-CV-938-DAO
ROYAL SOUTHSEA RESTAURANT                               Magistrate Daphne A. Oberg
INC., a Utah Corporation, John Does I – X,
XYZ Corporations and/or Limited Liability
Companies I – X.

               Defendants.

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Linda

Suda, by and through undersigned counsel, voluntarily dismisses this action as to all Defendants,

without prejudice to refiling. As of the date of this notice, no answer to the Complaint nor

motion for summary judgment has been filed.

       DATED this 12th day of June, 2020.

                                                     FORD & CRANE PLLC



                                                     /s/ Matthew B. Crane
                                                     Matthew B. Crane (UTB# 13909)
                                                     Attorney for Plaintiff

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                                 CERTIFICATE OF SERVICE

       I, the undersigned, certify that on the 12th day of June, 2020, I caused a true and correct

copy of the foregoing NOTICE OF VOLUNTARY DISMISSAL to be filed with the Court

electronically, which caused notice to be served upon all e-filing counsel of record via the

Court’s notice of electronic filing [NEF].

       I further certify that I caused a true and correct copy to be served upon Defendant via

First Class Mail, postage prepaid, at the address listed below:

       Royal Southsea Restaurant, Inc.
       Vatchara Kumpoomee (registered agent)
       7444 South State Street
       Midvale, UT 84047

                                                     /s/ Matthew B. Crane




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